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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       v.                                                             ORDER
                                                                    02-CR-255S
MOHAMMED ALBANNA, ET AL.,

                            Defendants.


       1.     Counsel appeared before this Court on February 1, 2006, for a status

conference. At that time, this Court scheduled an additional status conference for

February 27, 2006, for, inter alia, the Government to provide its response to Defendants’

request for information regarding non-judicially authorized government wiretapping.

       2.     On February 23, 2006, the Government filed a motion seeking an extension

of its time until March 13, 2006, to file its response. Accompanying the Government’s

request is an affidavit explaining the efforts taken thus far to formulate its response. The

Government also indicates that Defendant Mohammed Albanna, who made the initial

request in which his co-defendants later joined, does not oppose the extension of time.

       3.     This Court has reviewed the Government’s motion and the accompanying

affidavit and is satisfied that the Government is diligently preparing its response to

Defendants’ inquiry. This Court will therefore grant the Government’s motion and extend

its time to file a response until March 13, 2006.

       IT HEREBY IS ORDERED, that the Government’s Motion to Extend Time (Docket

No. 83) is GRANTED.

       FURTHER, that the Government shall file and serve its response on or before

March 13, 2006.
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       FURTHER, that this will be the only extension of time permitted.

       FURTHER, that the status conference scheduled for Monday, February 27, 2006,

is adjourned to March 23, 2006, at 9:00 a.m..

       FURTHER, that time is excluded from the Speedy Trial Clock through and including

March 23, 2006, pursuant to 18 U.S.C. § 3161(h)(8)(A), and this Court specifically finds

that the ends of justice served by this delay outweigh the best interest of the public and the

defendant in a speedy trial.

       FURTHER, that Defendants are not required to appear at the status conference.

       SO ORDERED.

Dated: February 23, 2006
       Buffalo, New York

                                                          /s/William M. Skretny
                                                          WILLIAM M. SKRETNY
                                                         United States District Judge




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